                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF ALABAMA


In Re:                                                               Case Number: 15-03549-JCO-13
Britney Jenice Mickles

       Debtor(s)

                                ORDER DISMISSING CHAPTER 13 CASE

This matter is before the Court upon Debtor's failure to comply with Consent Order.

The Court finds the case should be dismissed. It is ORDERED that:

         1. The bankruptcy case is dismissed.

         2. All creditors are to be notified of the dismissal by service upon them by a copy of this order.

         3. If any filing fees or court costs remain unpaid, the Court retains jurisdiction to collect them.




DATED: 12/8/2016


                                                          /s/ JERRY C. OLDSHUE
                                                          U.S. BANKRUPTCY JUDGE



ORDER PREPARED BY:
Chapter 13 Trustee's Office




    Case 15-03549             Doc 54   Filed 12/08/16 Entered 12/08/16 11:39:05                 Desc Main
                                         Document     Page 1 of 1
